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                               Hearing Date and Time: January 17, 2019 at 10:00 a.m. (Prevailing Eastern Time)
                               Response Date and Time: January 10, 2019 at 4:00 p.m. (Prevailing Eastern Time)

Christopher Gartman
Elizabeth A. Beitler
HUGHES HUBBARD & REED LLP
One Battery Park Plaza
New York, New York 10004
Telephone: (212) 837-6000
Facsimile: (212) 422-4726

Counsel to the Reorganized Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


     In re                                                                    Chapter 11

     CENVEO, INC., et al.,1                                                   Case No. 18-22178 (RDD)

                       Reorganized Debtors.                                   (Jointly Administered)


      NOTICE OF HEARING ON THE REORGANIZED DEBTORS’ FIRST OMNIBUS
                OBJECTION TO CLAIMS (DUPLICATIVE CLAIMS)

                    PLEASE TAKE NOTICE that on December 18, 2018, Cenveo, Inc. and its

reorganized debtor affiliates (collectively, the “Debtors” and, after the Effective Date of the Plan,

as defined in the Objection, the “Reorganized Debtors”), by and through their undersigned

counsel, filed the attached first omnibus objection to claims (the “First Omnibus Objection”),

pursuant to sections 105(a) and 502(b) of title 11 of the United States Code, Rule 3007 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the omnibus claims

objection procedures (the “Omnibus Claims Objection Procedures”) approved by the Bankruptcy

Court on May 17, 2018 (Docket No. 414) (such Order, the “Omnibus Procedures Order”).

\

1.    The last four digits of Cenveo, Inc.’s tax identification number are 0533. Due to the large number of debtor
      entities in these chapter 11 cases, which cases are being jointly administered for procedural purposes, a complete
      list of the debtor entities and the last four digits of their federal tax identification numbers is not provided herein.
      A complete list of such information may be obtained on the website of Cenveo’s claims and noticing agent at
      https://cases.primeclerk.com/cenveo. The location of Cenveo’s service address for purposes of these chapter 11
      cases is: 777 Westchester Avenue, Suite 111, White Plains, New York 10604.
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                PLEASE TAKE FURTHER NOTICE that a hearing to consider the First

Omnibus Objection will be held before the Honorable Robert D. Drain, United States

Bankruptcy Judge, in Courtroom 248 of the United States Bankruptcy Court for the Southern

District of New York, 300 Quarropas Street, White Plains, New York 10601 (the “Bankruptcy

Court”), on January 17, 2019 at 10:00 a.m. (Prevailing Eastern Time) (the “Hearing”).

                PLEASE TAKE FURTHER NOTICE that responses, if any, to the First

Omnibus Objection must (i) be in writing; (ii) state the name and address of the responding party

and nature of the claim or interest of such party; (iii) state with particularity the legal and factual

bases of such response; (iv) conform to the Bankruptcy Rules, the Local Bankruptcy Rules for

the Southern District of New York, the Omnibus Procedures Order, and the Final Order

Establishing Certain Notice, Case Management, and Administrative Procedures (Docket No.

202) (the “Case Management Order”); (v) be filed with the Bankruptcy Court, together with

proof of service, electronically, in accordance with General Order M-399 by registered users of

the Court’s Electronic Case Filing system and, by all other parties in interest, on a CD-ROM, in

text-searchable (with a hard copy delivered directly to Chambers), in accordance with the

customary practices of the Bankruptcy Court and General Order M-399, to the extent applicable,

no later than January 10, 2019 at 4:00 p.m. (Prevailing Eastern Time) (the “Response

Deadline”); and (vi) be served on (a) Hughes Hubbard & Reed LLP, One Battery Park Plaza,

New York, New York, 10004, Attn: Christopher Gartman, Esq. and Elizabeth A. Beitler, Esq.;

(b) the Office of the United States Trustee for the Southern District of New York, 201 Varick

Street, Suite 1006, New York, New York 10014, Attn: Paul K. Schwartzberg, Esq.; (c) the

Claims Oversight Monitor, Drivetrain, LLC, 630 Third Avenue, 21st Floor, New York, New

York 10017, Attn: Alan J. Carr; and (d) parties that have filed a request for service of papers



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under Bankruptcy Rule 2002.

               PLEASE TAKE FURTHER NOTICE that if no responses are timely filed and

served with respect to the First Omnibus Objection or any claim set forth thereon, the

Reorganized Debtors may, on or after the Response Deadline, submit to the Bankruptcy Court an

order substantially in the form of the proposed order attached to the First Omnibus Objection,

which may be entered with no further notice or opportunity to be heard offered to any party.

               PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or

adjourned thereafter from time to time without further notice other than an announcement of the

adjourned date or dates in open court at the Hearing.

               PLEASE TAKE FURTHER NOTICE that copies of the First Omnibus

Objection, the Omnibus Procedures Order, the Case Management Order, and all other documents

filed in the chapter 11 cases may be obtained free of charge by visiting the website of Prime

Clerk LLC at https://cases.primeclerk.com/cenveo. You may also obtain copies of any pleadings

by visiting the Bankruptcy Court’s website at http://www.nysb.uscourts.gov in accordance with

the procedures and fees set forth therein.




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Dated: December 18, 2018
       New York, New York

                                             HUGHES HUBBARD & REED LLP


                                             By: /s/ Christopher Gartman
                                                 Christopher Gartman
                                                 Elizabeth A. Beitler

                                             One Battery Park Plaza
                                             New York, New York 10004
                                             Tel: (212) 837-6000
                                             Fax: (212) 422-4726
                                             chris.gartman@hugheshubbard.com
                                             elizabeth.beitler@hugheshubbard.com

                                             Counsel to the Reorganized Debtors




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                               Hearing Date and Time: January 17, 2019 at 10:00 a.m. (Prevailing Eastern Time)
                               Response Date and Time: January 10, 2019 at 4:00 p.m. (Prevailing Eastern Time)

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Telephone: (212) 837-6000
Facsimile: (212) 422-4726

Counsel to the Reorganized Debtors

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


     In re                                                                    Chapter 11

     CENVEO, INC., et al.,1                                                   Case No. 18-22178 (RDD)

                       Reorganized Debtors.                                   (Jointly Administered)


                 REORGANIZED DEBTORS’ FIRST OMNIBUS OBJECTION TO
                          CLAIMS (DUPLICATIVE CLAIMS)

 THIS OBJECTION SEEKS TO DISALLOW AND EXPUNGE CERTAIN FILED PROOFS
 OF CLAIM. PARTIES RECEIVING THIS NOTICE OF THE REORGANIZED DEBTORS’
    FIRST OMNIBUS OBJECTION TO CLAIMS SHOULD REVIEW THE OMNIBUS
  OBJECTION TO SEE IF THEIR NAME(S) AND/OR CLAIM(S) ARE LOCATED IN THE
     OMNIBUS OBJECTION AND/OR IN THE EXHIBIT ATTACHED THERETO TO
      DETERMINE WHETHER THIS OBJECTION AFFECTS THEIR CLAIM(S).

      IF YOU HAVE QUESTIONS, PLEASE CONTACT THE REORGANIZED DEBTORS’
               COUNSEL, CHRISTOPHER GARTMAN, AT (212) 837-6350.




\

1.    The last four digits of Cenveo, Inc.’s tax identification number are 0533. Due to the large number of debtor
      entities in these chapter 11 cases, which cases are being jointly administered for procedural purposes, a complete
      list of the debtor entities and the last four digits of their federal tax identification numbers is not provided herein.
      A complete list of such information may be obtained on the website of Cenveo’s claims and noticing agent at
      https://cases.primeclerk.com/cenveo. The location of Cenveo’s service address for purposes of these chapter 11
      cases is: 777 Westchester Avenue, Suite 111, White Plains, New York 10604.
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       Cenveo, Inc. and its reorganized debtor affiliates (collectively, the “Debtors” and, after

the Effective Date of the Plan, as defined below, the “Reorganized Debtors”), by and through

their undersigned counsel, respectfully represent as follows:

                                    RELIEF REQUESTED

       1.      The Reorganized Debtors file this first omnibus objection to claims (the “First

Omnibus Objection”), together with the Declaration of Mark Hiltwein in support of the First

Omnibus Objection attached hereto as Exhibit A, pursuant to sections 105(a) and 502(b) of title

11 of the United States Code (the “Bankruptcy Code”), Rule 3007 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and the omnibus claims objection procedures

(the “Omnibus Claims Objection Procedures”) approved by the Court on May 17, 2018 (Docket

No. 414) (such Order, the “Omnibus Procedures Order”). By this First Omnibus Objection, the

Reorganized Debtors seek disallowance and expungement of the claims listed on Exhibit B

annexed hereto (collectively, the “Duplicative Claims”). The Reorganized Debtors’ proposed

order (the “Proposed Order”) is annexed hereto as Exhibit C.

       2.      The Reorganized Debtors and their professionals have examined the Duplicative

Claims and have determined that, in each case, the Duplicative Claims are duplicative, either

entirely or in substance, of the corresponding proof of claim identified under the heading

“Surviving Claims” (collectively, the “Surviving Claims”). Thus, the Duplicative Claims do not

constitute valid prima facie claims, and the Reorganized Debtors request that they be disallowed

and expunged in their entirety.

       3.      The Reorganized Debtors reserve all rights to object on any other basis to any

Duplicative Claim as to which the Court does not grant the relief requested herein. In addition,

the Reorganized Debtors reserve all rights to later object to any Surviving Claim on any basis.



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                                JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       5.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           BACKGROUND

       6.      On February 2, 2018, each of the Debtors filed a voluntary petition for relief

under the Bankruptcy Code.

       7.      On March 3, 2018, the Court entered the Order (I) Setting Bar Dates for

Submitting Proofs of Claim, (II) Approving Procedures for Submitting Proofs of Claim, and (III)

Approving Notice Thereof (Docket No. 170), pursuant to which the Bankruptcy Court, among

other things, established May 7, 2018, at 5:00 p.m. (prevailing Eastern Time), as the deadline for

all non-governmental entities to assert a “claim” (as defined in section 101(5) of the Bankruptcy

Code), and August 1, 2018 at 5:00 p.m. (prevailing Eastern Time) as the deadline for all

governmental entities to assert a claim.

       8.      On May 17, 2018, the Court entered the Omnibus Procedures Order, which

approved certain procedures in connection with omnibus objections to and notices of satisfaction

of creditor’s claims in these chapter 11 cases. The Omnibus Procedures Order authorizes the

Debtors, among other things, to file omnibus objections to no more than 200 claims at a time, on

various grounds including those set forth in Bankruptcy Rule 3007(d) and on additional grounds

specified in the Omnibus Procedures Orders.

       9.      On August 21, 2018, the Court entered the Findings of Fact, Conclusions of Law,

and Order Confirming the Fourth Amended Joint Chapter 11 Plan of Reorganization of Cenveo,

Inc., et al., Pursuant to Chapter 11 of the Bankruptcy Code (the “Confirmation Order”)



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confirming the Debtors’ Fourth Amended Joint Chapter 11 Plan of Reorganization (the “Plan”).

On September 7, 2018 (the “Effective Date”), the effective date of the Plan occurred, and the

Plan was consummated.

       10.     Pursuant to Article VII.C. of the Plan, “[e]xcept as otherwise specifically

provided in the Plan and notwithstanding any requirements that may be imposed pursuant to

Bankruptcy Rule 9019, after the Effective Date, the Reorganized Debtors, in consultation with

the Claims Oversight Monitor, shall have the exclusive authority: (a) to File, withdraw, or

litigate to judgment objections to Claims; (b) to settle or compromise any disputed Claim without

any further notice to or action, order, or approval by the Bankruptcy Court; and (c) to administer

and adjust the Claims Register to reflect any such settlements or compromises without any

further notice to or action, order, or approval by the Bankruptcy Court.”

          THE DUPLICATIVE CLAIMS SHOULD BE DISALLOWED AND EXPUNGED

       11.     In reviewing the claims filed on the claims register in this case and maintained by

the Debtors’ claims agent, the Reorganized Debtors and their professionals have identified the

claims on Exhibit B as claims that should be disallowed and expunged on the basis that they

either (i) are exact duplicates of the corresponding Surviving Claim or (ii) are in substance

duplicates of the corresponding Surviving Claim. Specifically, the Duplicative Claims were filed

by the same claimants on account of the same alleged obligations as the corresponding Surviving

Claims.

       12.     A filed proof of claim is “deemed allowed, unless a party in interest . . . objects.”

11 U.S.C. § 502(a). If an objection refuting at least one of the claim’s essential allegations is

asserted, the claimant has the burden to demonstrate the validity of the claim. See In re Oneida

Ltd., 400 B.R. 384, 389 (Bankr. S.D.N.Y. 2009), aff’d sub nom. Peter J. Solomon Co., L.P. v.



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Oneida Ltd., No. 09 Civ. 2229 (DC), 2010 WL 234827 (S.D.N.Y. Jan. 22, 2010); In re Adelphia

Commc’ns Corp., No. 02-41729 (REG), 2007 Bankr. LEXIS 660, at *15 (Bankr. S.D.N.Y. Feb.

20, 2007); In re Rockefeller Ctr. Props., 272 B.R. 524, 539 (Bankr. S.D.N.Y. 2000).

       13.     Courts in the Southern District of New York routinely disallow and expunge

duplicative claims filed by the same creditor against the same debtors. See, e.g., In re Worldcom,

Inc., No. 02-13533 (AJG), 2005 WL 3875191, at *8 (Bankr. S.D.N.Y. June 3, 2005) (expunging

duplicative claims); In re Best Payphones, Inc., No. 01-15472 (SMB), 2002 WL 31767796, at

*4, 11 (Bankr. S.D.N.Y. Dec. 11, 2002) (same); In re Drexel Burnham Lambert Grp, Inc., 148

B.R. 993, 1001-02 (S.D.N.Y. 1992) (dismissing duplicative claim).

       14.     The Reorganized Debtors cannot be required to make any distribution on the same

claim more than once. See, e.g., In re Finley, Kumble, Wagner, Heine, Underberg, Manley,

Myerson, & Casey, 160 B.R. 882, 894 (Bankr. S.D.N.Y. 1993) (“In bankruptcy, multiple

recoveries for an identical injury are generally disallowed.”); Phelan v. Local 305 of United

Ass’n of Journeyen & Apprentices of Plumbing & Pipefitting Indus. of U.S. & Can., 973 F.2d

1050, 1063 (2d Cir. 1992); Singer v. Olympia Brewing Co., 878 F.2d 596, 600 (2d Cir. 1989);

United States v. Zan Mach. Co., 803 F. Supp. 620, 623 (E.D.N.Y. 1992). Elimination of

redundant claims will also enable the Reorganized Debtors’ claims agent to maintain a claims

register that more accurately reflects the proper claims existing against the Debtors’ estates.

       15.     In addition, Article VII of the Plan provides that:

               Any duplicate Claim or Interest or any Claim or Interest that has
               been paid or satisfied, or any Claim that has been amended or
               superseded, may be adjusted or expunged on the Claims Register by
               the Debtors or the Reorganized Debtors upon stipulation between
               the impacted Holder of any Claim or Interest and the Debtor or
               Reorganized Debtor, as applicable, in consultation with the Claims
               Oversight Monitor, without a Claims objection having to be Filed



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               and without any further notice to or action, order, or approval of the
               Bankruptcy Court.

Plan art. VII.E. (emphasis added). Notwithstanding the above, out of an abundance of caution,

the Reorganized Debtors have filed this First Omnibus Objection.

       16.     After reviewing their books and records, and all other relevant information, as

further described in the declaration of Mark Hiltwein, Chief Financial Officer of Cenveo

Worldwide Limited, attached hereto as Exhibit A, the Reorganized Debtors have determined that

each of the Duplicative Claims is a duplicate of the corresponding Surviving Claim.

       17.     It would be inequitable and inappropriate for holders of the Duplicative Claims to

receive distributions on account of both the Duplicative Claim as well as the Surviving Claim.

       18.     Therefore, to avoid the possibility of multiple recoveries by the same creditor and

to maintain a more accurate claims register that does not inaccurately overstate the Reorganized

Debtors’ liabilities, the Reorganized Debtors request that the Court disallow and expunge the

Duplicative Claims listed on Exhibit B in their entirety.

                                 RESERVATION OF RIGHTS

       19.     The Reorganized Debtors reserve all rights to object on any other basis to any

Duplicative Claim or any portion of any Duplicative Claim for which the Court does not grant

the relief requested herein.

                                             NOTICE

       20.     Notice of this First Omnibus Objection has been provided to (i) each claimant

listed on Exhibit B; (ii) the Office of the U.S. Trustee; (iii) the Claims Oversight Monitor; and

(iv) parties that have filed a request for service of papers under Bankruptcy Rule 2002, in each

case by regular mail postage prepaid. The Reorganized Debtors submit that no other or further

notice need be provided.


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                              NO PRIOR RELIEF REQUESTED

       21.     No previous request for the relief requested herein has been made by the

Reorganized Debtors to this or any other Court.

                                          CONCLUSION

       For the reasons stated herein, the Reorganized Debtors respectfully request entry of an

order granting the relief requested herein and such other and further relief as is just and proper.


Dated: December 18, 2018
       New York, New York


                                                      HUGHES HUBBARD & REED LLP


                                                      By: /s/ Christopher Gartman
                                                          Christopher Gartman
                                                           Elizabeth A. Beitler

                                                      One Battery Park Plaza
                                                      New York, New York 10004
                                                      Tel: (212) 837-6000
                                                      Fax: (212) 422-4726
                                                      chris.gartman@hugheshubbard.com
                                                      elizabeth.beitler@hugheshubbard.com

                                                      Counsel to the Reorganized Debtors




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                                    EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


     In re                                                                    Chapter 11

     CENVEO, INC., et al.,1                                                   Case No. 18-22178 (RDD)

                       Reorganized Debtors.                                   (Jointly Administered)


              DECLARATION OF MARK HILTWEIN IN SUPPORT OF
       THE REORGANIZED DEBTORS’ FIRST OMNIBUS OBJECTION TO CLAIMS
                         (DUPLICATIVE CLAIMS)

Pursuant to 28 U.S.C. § 1746, I, Mark Hiltwein, hereby declare as follows:

             1.     I am Chief Financial Officer of Cenveo Worldwide Limited and its reorganized

debtor subsidiaries in the above-captioned chapter 11 cases (collectively, the “Reorganized

Debtors”). I have served as Chief Financial Officer of Cenveo Worldwide Limited, and prior to

the Effective Date its predecessor debtor entity, since March 2018. I respectfully submit this

declaration (the “Declaration”) in support of the Reorganized Debtors’ first omnibus objection to

claims (the “Objection”).2

             2.     Except as otherwise set forth herein, all statements in this Declaration are based

upon my familiarity with and review of the Reorganized Debtors’ books and records, my

discussions with the Reorganized Debtors’ other legal and financial professionals, members of

the Reorganized Debtors’ staff under my supervision, and/or my review of other relevant


\

1.    The last four digits of Cenveo, Inc.’s tax identification number are 0533. Due to the large number of debtor
      entities in these chapter 11 cases, which cases are being jointly administered for procedural purposes, a complete
      list of the debtor entities and the last four digits of their federal tax identification numbers is not provided herein.
      A complete list of such information may be obtained on the website of Cenveo’s claims and noticing agent at
      https://cases.primeclerk.com/cenveo. The location of Cenveo’s service address for purposes of these chapter 11
      cases is: 777 Westchester Avenue, Suite 111, White Plains, New York 10604.

2.    Capitalized terms used but not defined herein have the meanings provided to such terms in the Objection.
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documents. If I were called upon to testify, I could and would testify competently to the facts set

forth in the Objection.

       3.      On behalf of the Reorganized Debtors, I have personally reviewed, or have caused

a member of the Reorganized Debtors’ staff under my supervision to review, the proofs of claim

(the “Proofs of Claim”) listed in Exhibit B annexed to the Objection, including all supporting

documentation submitted with each Proof of Claim.

       4.      Based on this analysis of the Proofs of Claim referenced above, I have determined

that the Proofs of Claim identified as Duplicative Claims on Exhibit B to the Objection either are

exact duplicates or are in substance duplicates of the corresponding Surviving Claims listed on

the same Exhibit B.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on December 18, 2018


                                                     _ /s/ Mark Hiltwein              _
                                                     Mark Hiltwein
                                                     Chief Financial Officer




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                                    EXHIBIT B
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                                                          Duplicate Claims ‐ To Be Disallowed and Expunged


                                              [1]                               Asserted Claim                                Proposed
       Claimant Name              Claim No.                 Debtor                                   Basis For Objection                       Surviving Claim No.
                                                                                  Amount[2]                                   Treatment


Actega                                1283           Cenveo Corporation          $1,110,176.85          Duplicate Claim     Disallow/expunge          1343

ACTEGA North America, Inc.            1284           Cenveo Corporation          $1,110,176.85          Duplicate Claim     Disallow/expunge          1343
Aetna Life Insurance 
Company And Its Affiliated 
Entities                               802           Cenveo Corporation               $0.00             Duplicate Claim     Disallow/expunge          816

Alliance Business Systems Inc          544               Cenveo, Inc.              $20,135.56           Duplicate Claim     Disallow/expunge          477

American Direct Imaging, Inc.          411               Cenveo, Inc.              $61,481.17           Duplicate Claim     Disallow/expunge          306

Atmos Energy Corporation              1055               Cenveo, Inc.              $7,942.93            Duplicate Claim     Disallow/expunge          698

B+D Pallet Company                     715               Cenveo, Inc.              $19,759.30           Duplicate Claim     Disallow/expunge          713

Bindagraphics, Inc.                   1276               Cenveo, Inc.              $79,452.17           Duplicate Claim     Disallow/expunge          1492

Buffum, Paul                          1031           Nashua Corporation            $49,941.31           Duplicate Claim     Disallow/expunge          1121

Buffum, Paul                          1116           Cenveo Corporation            $49,941.31           Duplicate Claim     Disallow/expunge          1121

California Air Conveying, Inc          644               Cenveo, Inc.              $9,406.86            Duplicate Claim     Disallow/expunge           24

Clough, Charles                       1111           Cenveo Corporation          $3,776,120.00          Duplicate Claim     Disallow/expunge          1210

Clough, Charles E                     1059           Nashua Corporation          $3,776,120.00          Duplicate Claim     Disallow/expunge          1210
Corporation Service 
Company                                156           Cenveo Corporation            $1,548.74            Duplicate Claim     Disallow/expunge          137
CRG Financial LLC (as 
Assignee of  B&G Industries, 
LLC)                                  1266           Cenveo Corporation            $17,337.73           Duplicate Claim     Disallow/expunge           23
CRG Financial LLC (As 
Assignee of Alameda                                   Madison/Graham 
Company)                              1264            Colorgraphics, Inc.          $7,505.00            Duplicate Claim     Disallow/expunge          1262
CRG Financial LLC (As 
Assignee of Clear Cast 
Technologies)                         1296           Cenveo Corporation            $13,902.87           Duplicate Claim     Disallow/expunge          1297

CRG Financial LLC (AS 
ASSIGNEE OF COASTWIDE 
TAG AND LABEL COMPANY)                1301           Cenveo Corporation            $12,937.50           Duplicate Claim     Disallow/expunge          1304

CRG Financial LLC (As 
Assignee of MBO of America)           1312           Cenveo Corporation             $684.28             Duplicate Claim     Disallow/expunge          1113
CRG Financial LLC (AS 
ASSIGNEE OF PALTECH 
ENTERPRISES OF ARKANSAS, 
INC)                                  1291           Cenveo Corporation            $2,574.00            Duplicate Claim     Disallow/expunge          208
CRG Financial LLC (As 
Assignee of Premier Blanket 
Service)                              1285           Cenveo Corporation            $13,662.10           Duplicate Claim     Disallow/expunge          1340
CRG Financial LLC (As 
Assignee of Update Ltd.)              1311           Cenveo Corporation            $1,845.90            Duplicate Claim     Disallow/expunge          1310
CRG Financial LLC (As 
Assignee of Washington 
Packaging Supply)                     1307           Cenveo Corporation            $4,921.38            Duplicate Claim     Disallow/expunge          1308
CRG Financial LLC (As 
Assignee of Whitworth Knife 
Company)                              1258           Nashua Corporation            $3,317.20            Duplicate Claim     Disallow/expunge          1265
CRG Financial LLC (As 
Assignee of Whitworth Knife 
Company)                              1305           Cenveo Corporation            $3,317.20            Duplicate Claim     Disallow/expunge          1265
1.
   The discussion of such Claims appears at pages 4‐6 of the First Omnibus Objection.
2.
   Asserted Claim amounts listed as $0.00 reflect that the Claim amount asserted on the Proof of Claim is “unliquidated.”



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                                                         Duplicate Claims ‐ To Be Disallowed and Expunged


                                               [1]                          Asserted Claim                           Proposed
       Claimant Name               Claim No.               Debtor                            Basis For Objection                      Surviving Claim No.
                                                                              Amount[2]                              Treatment

CRG Financial LLC (As 
Assignee of Whitworth Knife 
Company)                              1306           Cenveo Corporation       $3,317.20        Duplicate Claim     Disallow/expunge          1265
CRG Financial LLC as 
Transferee of Aj Adhesives, 
Inc.                                   13               Cenveo, Inc.          $6,749.00        Duplicate Claim     Disallow/expunge          1256

CRG Financial LLC as 
Transferee of Blaze Graphics           77               Cenveo, Inc.          $1,456.00        Duplicate Claim     Disallow/expunge          1288
CRG Financial LLC as 
Transferee of Colbert 
Packaging Corporation                 196               Cenveo, Inc.         $168,084.03       Duplicate Claim     Disallow/expunge          1631
CRG Financial LLC as 
Transferee of Washington 
Packaging Supply                      120               Cenveo, Inc.          $4,921.38        Duplicate Claim     Disallow/expunge          1308
CRG Financial LLC as 
Transferee of Whitworth 
Knife Company                          35            Nashua Corporation       $3,313.20        Duplicate Claim     Disallow/expunge          1265

Digital 66                            424               Cenveo, Inc.          $7,766.88        Duplicate Claim     Disallow/expunge          361

Dunton, Bulkley                       795               Cenveo, Inc.          $60,823.50       Duplicate Claim     Disallow/expunge          733
Dynamic Control Solutions 
Inc                                   814               Cenveo, Inc.          $26,906.50       Duplicate Claim     Disallow/expunge          547

Edelen Company Inc                    701               Cenveo, Inc.          $2,396.88        Duplicate Claim     Disallow/expunge          648

Emerald City Bindery                   1                Cenveo, Inc.          $9,730.10        Duplicate Claim     Disallow/expunge          531

Ennis, Inc. and its affiliates, 
including Crabar/GBF, Inc.            1156           Discount Labels, LLC     $2,836.07        Duplicate Claim     Disallow/expunge          1109

Ennis, Inc. and its affiliates, 
including Crabar/GBF, Inc.            1157           Nashua Corporation       $1,706.21        Duplicate Claim     Disallow/expunge          1109

Euler Hermes N.A. as Agent 
for Field Paper Company               963               Cenveo, Inc.          $88,864.03       Duplicate Claim     Disallow/expunge          126

Fine Impressions                      434               Cenveo, Inc.          $2,829.70        Duplicate Claim     Disallow/expunge          493

Fortner Precision, Inc.               115               Cenveo, Inc.          $49,834.33       Duplicate Claim     Disallow/expunge           89

Fortner Precision, Inc.               1102              Cenveo, Inc.          $49,834.33       Duplicate Claim     Disallow/expunge           89

Friesen, Jerry A. and Judith D.       910            Cenveo Corporation         $0.00          Duplicate Claim     Disallow/expunge          908

Friesen, Jerry A. and Judith D.       924            Nashua Corporation         $0.00          Duplicate Claim     Disallow/expunge          908

GROEBER TRANSPORTATION 
SERVICES                              1186              Cenveo, Inc.          $33,825.77       Duplicate Claim     Disallow/expunge          1133
Harry'S Bindery Equipment 
Service & Sale                        857               Cenveo, Inc.          $2,698.08        Duplicate Claim     Disallow/expunge          160

Holston Gases, Inc.                   242            Nashua Corporation       $8,084.10        Duplicate Claim     Disallow/expunge          609

Holston Gases, Inc.                   273            Nashua Corporation       $8,084.10        Duplicate Claim     Disallow/expunge          609
James W. Smith Printing 
Company                                28               Cenveo, Inc.          $8,120.04        Duplicate Claim     Disallow/expunge          656

Jet Graphics Incorporated             1163              Cenveo, Inc.           $843.00         Duplicate Claim     Disallow/expunge          254

Jet Graphics, Inc.                    164               Cenveo, Inc.          $2,125.50        Duplicate Claim     Disallow/expunge          254

Los Angeles County 
Treasurer and Tax Collector           1086           Nashua Corporation       $3,724.01        Duplicate Claim     Disallow/expunge          142



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                                                         Duplicate Claims ‐ To Be Disallowed and Expunged


                                           [1]                                Asserted Claim                           Proposed
      Claimant Name            Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                                Amount[2]                              Treatment


Los Angeles County                                  Madison/Graham 
Treasurer and Tax Collector       1087              Colorgraphics, Inc.        $141,882.49       Duplicate Claim     Disallow/expunge          1396

Los Angeles County 
Treasurer and Tax Collector       1088              Cenveo Corporation         $270,665.75       Duplicate Claim     Disallow/expunge          149

Mapley, John                      1332              Cenveo Corporation          $71,677.00       Duplicate Claim     Disallow/expunge          1331

Mapley, John                      1333              Nashua Corporation          $71,677.00       Duplicate Claim     Disallow/expunge          1331

Marion County Treasurer           480                   Cenveo, Inc.           $173,566.76       Duplicate Claim     Disallow/expunge          459

Marion County Treasurer           1060                  Cenveo, Inc.           $173,566.76       Duplicate Claim     Disallow/expunge          459

Max Daetwyler Corporation         632                   Cenveo, Inc.            $1,064.03        Duplicate Claim     Disallow/expunge          1810

Max Daetwyler Corporation         649                   Cenveo, Inc.            $1,025.00        Duplicate Claim     Disallow/expunge          1810

Max Daetwyler Corporation         705                   Cenveo, Inc.             $485.48         Duplicate Claim     Disallow/expunge          1810

MBO America                       494                  Cenveo, Inc.             $2,956.53        Duplicate Claim     Disallow/expunge          553
                                                  Cadmus Printing Group, 
Midland Paper Company             280                       Inc.               $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Cadmus/O’Keefe 
Midland Paper Company             281                 Marketing, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                 Cadmus Marketing Group, 
Midland Paper Company             282                       Inc.               $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Cadmus Financial 
Midland Paper Company             283                Distribution, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             284             Cadmus Delaware, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             285                   Old TSI, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             286                CRX Holding, Inc.         $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             287            CNMW Investments, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             288             Colorhouse China, Inc.       $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             289                Cenveo CEM, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Madison/Graham 
                                                  Colorgraphics Interstate 
Midland Paper Company             290                  Services, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Madison/Graham 
Midland Paper Company             292               Colorgraphics, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             332               Port City Press, Inc.      $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             333            Nashua International, Inc.    $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             334             VSUB Holding Company         $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             336              RX Technology Corp.         $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             337               RX JV Holding, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                   Cadmus International 
Midland Paper Company             338                 Holdings, Inc.           $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             339                   CRX JV, LLC            $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             340              Discount Labels, LLC        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             341             Cadmus Marketing, Inc.       $287,144.79       Duplicate Claim     Disallow/expunge          278



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                                                        Duplicate Claims ‐ To Be Disallowed and Expunged


                                           [1]                                Asserted Claim                           Proposed
      Claimant Name            Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                                Amount[2]                              Treatment

                                                 Cadmus Journal Services, 
Midland Paper Company             342                     Inc.                 $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             343                Cadmus UK, Inc.           $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             344              Nashua Corporation          $287,144.79       Duplicate Claim     Disallow/expunge           278
                                                  Commercial Envelope 
Midland Paper Company             345             Manufacturing Co., Inc.      $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             346                Cenveo CEM, LLC           $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             347            CDMS Management, LLC          $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             348             Expert Graphics, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge           278
                                                  Garamond/Pridemark 
Midland Paper Company             350                  Press, Inc.             $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             351             Cenveo Omemee, LLC           $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             352                  Cenveo, Inc.            $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             353              Cenveo Services, LLC        $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             354              Cenveo Corporation          $287,144.79       Duplicate Claim     Disallow/expunge           278
                                                 Envelope Products Group, 
Midland Paper Company             355                      LLC                 $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             356              Lightning Labels, LLC       $287,144.79       Duplicate Claim     Disallow/expunge           278

Montesi, John                     1112             Nashua Corporation          $440,233.00       Duplicate Claim     Disallow/expunge          1115

Montesi, John                     1159             Cenveo Corporation          $440,233.00       Duplicate Claim     Disallow/expunge          1115

Morgan Adhesives Company, 
LLC d/b/a MACtac                  1160             Cenveo Corporation          $300,422.80       Duplicate Claim     Disallow/expunge    858, 861, 862, 867

Morgan Adhesives Company, 
LLC d/b/a MACtac                  1178                 Cenveo, Inc.            $300,422.80       Duplicate Claim     Disallow/expunge    858, 861, 862, 867

Nectron International, Inc.       1320                 Cenveo, Inc.             $36,618.15       Duplicate Claim     Disallow/expunge          1319

Nectron International, Inc.       1321             Nashua Corporation           $36,618.15       Duplicate Claim     Disallow/expunge          1319
Oregon Department Of 
Revenue                           552                  Cenveo, Inc.             $1,054.23        Duplicate Claim     Disallow/expunge           496
Oregon Department of 
Revenue                           1061                 Cenveo, Inc.             $1,054.23        Duplicate Claim     Disallow/expunge           496
Oregon Printing Industry                            Madison/Graham 
Pension Trust                     728               Colorgraphics, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     729            Nashua International, Inc.   $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     731            CDMS Management, LLC         $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     736               RX JV Holding, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     737             Cadmus Marketing, Inc.      $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     738                Cenveo CEM, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     748             VSUB Holding Company        $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry                            Vaughan Printers 
Pension Trust                     752                 Incorporated            $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     754              Cenveo Services, LLC       $5,201,084.78      Duplicate Claim     Disallow/expunge           772




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                                                        Duplicate Claims ‐ To Be Disallowed and Expunged


                                          [1]                                Asserted Claim                           Proposed
       Claimant Name          Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                               Amount[2]                              Treatment

Oregon Printing Industry                           Cadmus Financial 
Pension Trust                    755               Distribution, Inc.     $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                        Cadmus Journal Services, 
Pension Trust                    756                      Inc.            $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    757               Port City Press, Inc.     $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    758             Colorhouse China, Inc.      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    760             Cadmus Delaware, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                         Commercial Envelope 
Pension Trust                    761             Manufacturing Co., Inc.     $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    762               Discount Labels, LLC      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                        Cadmus Marketing Group, 
Pension Trust                    765                      Inc.               $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                          Cadmus International 
Pension Trust                    766                  Holdings, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                            Cadmus/O’Keefe 
Pension Trust                    767                  Marketing, Inc.        $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    768                 Cadmus UK, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    769                Cenveo CEM, LLC          $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    770              Cenveo Corporation         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                         Cadmus Printing Group, 
Pension Trust                    771                     Inc.                $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    773            CNMW Investments, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    774                   Old TSI, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    775              Cenveo Omemee, LLC         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    776              Expert Graphics, Inc.      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
                                                    Madison/Graham 
Oregon Printing Industry                         Colorgraphics Interstate 
Pension Trust                    777                  Services, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    779              Nashua Corporation         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    788              Lightning Labels, LLC      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    791              RX Technology Corp.        $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                          Garamond/Pridemark 
Pension Trust                    792                   Press, Inc.           $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    793                CRX Holding, Inc.     $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                        Envelope Products Group, 
Pension Trust                    794                      LLC             $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    800                   CRX JV, LLC           $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Pennsylvania Department of 
Revenue                          1063              Cenveo Corporation        $1,459,336.47      Duplicate Claim     Disallow/expunge          186

Phillips Precision, Inc.         507                   Cenveo, Inc.            $56,525.62       Duplicate Claim     Disallow/expunge           25

PNC Equipment Finance, LLC       1274             Cenveo Corporation         $8,270,912.31      Duplicate Claim     Disallow/expunge          1370
Questar Gas Company dba 
Dominion Energy UT               1077                  Cenveo, Inc.              $73.38         Duplicate Claim     Disallow/expunge          798

Resource Equipment Co            103                   Cenveo, Inc.            $35,000.00       Duplicate Claim     Disallow/expunge           99

SEA INDUSTRIES LLC               1009             Cenveo Corporation           $1,357.70        Duplicate Claim     Disallow/expunge          750



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                                                          Duplicate Claims ‐ To Be Disallowed and Expunged


                                            [1]                                Asserted Claim                           Proposed
      Claimant Name             Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                                 Amount[2]                              Treatment

Serv‐Wel Disposal ‐ 
Montebello                         557                   Cenveo, Inc.            $4,927.36        Duplicate Claim     Disallow/expunge          304

SMC ELECTRIC                       433              RX Technology Corp.           $649.54         Duplicate Claim     Disallow/expunge          426
                                                     Madison/Graham 
Source‐Rep, INC.                   363               Colorgraphics, Inc.          $520.00         Duplicate Claim     Disallow/expunge          884

Spring Cove Container              1042             Cenveo Corporation           $84,118.98       Duplicate Claim     Disallow/expunge          955
Tannor Partners Credit Fund, 
LP as Transferee of B&D 
Pallet Company                     716                   Cenveo, Inc.            $8,685.30        Duplicate Claim     Disallow/expunge          713

Tannor Partners Credit Fund, 
LP as Transferee of Superior 
Packaging Concepts, Inc.           869                   Cenveo, Inc.            $7,999.58        Duplicate Claim     Disallow/expunge          626

The County of Denton, Texas        244                   Cenveo, Inc.             $181.91         Duplicate Claim     Disallow/expunge          243

ThyssenKrupp Elevator Corp.         20                   Cenveo, Inc.             $874.71         Duplicate Claim     Disallow/expunge           2

TIDEWATER DIRECT LLC               310                   Cenveo, Inc.           $117,814.61       Duplicate Claim     Disallow/expunge          307

Trophy, Burien                     415                   Cenveo, Inc.            $2,050.85        Duplicate Claim     Disallow/expunge          440

W.W. Grainger, Inc.                690                   CRX JV, LLC             $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                    Garamond/Pridemark 
W.W. Grainger, Inc.                720                    Press, Inc.            $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                      Madison/Graham 
                                                   Colorgraphics Interstate 
W.W. Grainger, Inc.                721                  Services, Inc.           $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                722               Cenveo CEM, LLC             $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                   Cadmus International 
W.W. Grainger, Inc.                727                Holdings, Inc.             $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                     Vaughan Printers 
W.W. Grainger, Inc.                734                 Incorporated              $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                  Cadmus Journal Services, 
W.W. Grainger, Inc.                739                      Inc.                 $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                741             Cadmus Marketing, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                743            Nashua International, Inc.     $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                744              Nashua Corporation           $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                     Madison/Graham 
W.W. Grainger, Inc.                745               Colorgraphics, Inc.         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                746              Lightning Labels, LLC        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                922                CRX Holding, Inc.          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                930                Cadmus UK, Inc.            $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                      Cadmus Financial 
W.W. Grainger, Inc.                954                Distribution, Inc.         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                957             Cadmus Delaware, Inc.         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                967             CDMS Management, LLC          $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                  Cadmus Marketing Group, 
W.W. Grainger, Inc.                968                     Inc.                  $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                969              Expert Graphics, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                  Envelope Products Group, 
W.W. Grainger, Inc.                970                      LLC                  $51,653.64       Duplicate Claim     Disallow/expunge          984




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                                                Duplicate Claims ‐ To Be Disallowed and Expunged


                                   [1]                               Asserted Claim                           Proposed
       Claimant Name   Claim No.                  Debtor                              Basis For Objection                      Surviving Claim No.
                                                                       Amount[2]                              Treatment


W.W. Grainger, Inc.       971                Cenveo CEM, Inc.          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       972             VSUB Holding Company         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       973              Cenveo Corporation          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       974              Cenveo Omemee, LLC          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       975               RX JV Holding, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       976              Cenveo Services, LLC        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       977            CNMW Investments, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       978               Port City Press, Inc.      $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       979             Colorhouse China, Inc.       $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       980                  Old TSI, Inc.           $51,653.64       Duplicate Claim     Disallow/expunge          984
                                             Cadmus/O’Keefe 
W.W. Grainger, Inc.       981                 Marketing, Inc.          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       982               Discount Labels, LLC       $51,653.64       Duplicate Claim     Disallow/expunge          984
                                           Commercial Envelope 
W.W. Grainger, Inc.       985             Manufacturing Co., Inc.      $51,653.64       Duplicate Claim     Disallow/expunge          984
                                          Cadmus Printing Group, 
W.W. Grainger, Inc.       987                      Inc.                $51,653.64       Duplicate Claim     Disallow/expunge          984
Western Converting 
Specialties, Inc.          97                  Cenveo, Inc.            $17,029.87       Duplicate Claim     Disallow/expunge           83
WestRock Converting 
Company                   1051                 Cenveo, Inc.           $737,964.19       Duplicate Claim     Disallow/expunge          1733
WestRock Converting                        Commercial Envelope 
Company                   1053            Manufacturing Co., Inc.     $737,964.19       Duplicate Claim     Disallow/expunge          1736
WestRock Converting                      Envelope Products Group, 
Company                   1189                     LLC                $737,964.19       Duplicate Claim     Disallow/expunge          1735
WestRock Converting 
Company                   1192             Cenveo Corporation         $737,964.19       Duplicate Claim     Disallow/expunge          1734

Willis, Bruce             1145                 Cenveo, Inc.           $553,437.50       Duplicate Claim     Disallow/expunge          1105

Wylie, Edwin              1101           CDMS Management, LLC         $787,500.00       Duplicate Claim     Disallow/expunge          1100

Xfinity Consultancy       558                  Cenveo, Inc.            $3,309.06        Duplicate Claim     Disallow/expunge          563

Zeriva Llc                666                  Cenveo, Inc.            $7,796.00        Duplicate Claim     Disallow/expunge           55




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                                    EXHIBIT C
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


     In re                                                                    Chapter 11

     CENVEO, INC., et al.,1                                                   Case No. 18-22178 (RDD)

                       Reorganized Debtors.                                   (Jointly Administered)


             ORDER GRANTING THE REORGANIZED DEBTORS’ FIRST OMNIBUS
                    OBJECTION TO CLAIMS (DUPLICATVE CLAIMS)

                    Upon the first omnibus objection to claims, dated December 18, 2018 (the “First

Omnibus Objection”),2 of Cenveo, Inc. and its reorganized debtor affiliates (collectively, the

“Debtors” and, after the Effective Date of the Plan, as defined below, the “Reorganized

Debtors”), seeking entry of an order, pursuant to section 502(b) of title 11 of the United States

Code (the “Bankruptcy Code”), and Rule 3007(d) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), disallowing and expunging the Duplicative Claims, as more fully

described in the First Omnibus Objection and the Declaration of Mark Hiltwein in support of the

First Omnibus Objection attached thereto; and due and proper notice of the First Omnibus

Objection having been provided, and it appearing that no other or further notice need be

provided; and the Court having found and determined that the relief sought in the First Omnibus

Objection is in the best interests of the Reorganized Debtors, their estates, creditors, and all



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1.    The last four digits of Cenveo, Inc.’s tax identification number are 0533. Due to the large number of debtor
      entities in these chapter 11 cases, which cases are being jointly administered for procedural purposes, a complete
      list of the debtor entities and the last four digits of their federal tax identification numbers is not provided herein.
      A complete list of such information may be obtained on the website of Cenveo’s claims and noticing agent at
      https://cases.primeclerk.com/cenveo. The location of Cenveo’s service address for purposes of these chapter 11
      cases is: 777 Westchester Avenue, Suite 111, White Plains, New York 10604.

2.    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the First Omnibus
      Objection.
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parties in interest, and that the legal and factual bases set forth in the First Omnibus Objection

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor, it is

                ORDERED that the relief requested in the First Omnibus Objection is granted;

and it is further

                ORDERED that, pursuant to section 502(b) of the Bankruptcy Code, Bankruptcy

Rule 3007 and the Omnibus Procedures Order, the claims listed on Exhibit 1 attached hereto are

disallowed and expunged in their entirety with prejudice; and it is further

                ORDERED that with respect to any Duplicative Claim referenced and/or

identified in the First Omnibus Objection that is not listed on Exhibit 1 attached hereto, this

Order has no res judicata, estoppel, or other effect on its validity, allowance, or disallowance,

and all rights to object to or defend on any basis such Duplicative Claim are expressly reserved;

and it is further

                ORDERED that with respect to any Surviving Claim, or any Duplicative Claim

that is not resolved by this Order, all of the Reorganized Debtors’ rights to later object to any

such claim on any other basis are expressly reserved; and it is further

                ORDERED that the Reorganized Debtors, the Reorganized Debtors’ Claims and

Noticing Agent (Prime Clerk LLC) and the Clerk of this Court are authorized to take all actions

necessary or appropriate to effectuate this Order; and it is further

                ORDERED that this Court shall retain jurisdiction to hear and determine all




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matters arising from or related to the implementation and/or interpretation of this Order.

Dated: White Plains, New York
       __________ __, 2019
                                             _____________________________________
                                             HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




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                                     Exhibit 1
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                                                          Duplicate Claims ‐ To Be Disallowed and Expunged


                                              [1]                               Asserted Claim                                Proposed
       Claimant Name              Claim No.                 Debtor                                   Basis For Objection                       Surviving Claim No.
                                                                                  Amount[2]                                   Treatment


Actega                                1283           Cenveo Corporation          $1,110,176.85          Duplicate Claim     Disallow/expunge          1343

ACTEGA North America, Inc.            1284           Cenveo Corporation          $1,110,176.85          Duplicate Claim     Disallow/expunge          1343
Aetna Life Insurance 
Company And Its Affiliated 
Entities                               802           Cenveo Corporation               $0.00             Duplicate Claim     Disallow/expunge          816

Alliance Business Systems Inc          544               Cenveo, Inc.              $20,135.56           Duplicate Claim     Disallow/expunge          477

American Direct Imaging, Inc.          411               Cenveo, Inc.              $61,481.17           Duplicate Claim     Disallow/expunge          306

Atmos Energy Corporation              1055               Cenveo, Inc.              $7,942.93            Duplicate Claim     Disallow/expunge          698

B+D Pallet Company                     715               Cenveo, Inc.              $19,759.30           Duplicate Claim     Disallow/expunge          713

Bindagraphics, Inc.                   1276               Cenveo, Inc.              $79,452.17           Duplicate Claim     Disallow/expunge          1492

Buffum, Paul                          1031           Nashua Corporation            $49,941.31           Duplicate Claim     Disallow/expunge          1121

Buffum, Paul                          1116           Cenveo Corporation            $49,941.31           Duplicate Claim     Disallow/expunge          1121

California Air Conveying, Inc          644               Cenveo, Inc.              $9,406.86            Duplicate Claim     Disallow/expunge           24

Clough, Charles                       1111           Cenveo Corporation          $3,776,120.00          Duplicate Claim     Disallow/expunge          1210

Clough, Charles E                     1059           Nashua Corporation          $3,776,120.00          Duplicate Claim     Disallow/expunge          1210
Corporation Service 
Company                                156           Cenveo Corporation            $1,548.74            Duplicate Claim     Disallow/expunge          137
CRG Financial LLC (as 
Assignee of  B&G Industries, 
LLC)                                  1266           Cenveo Corporation            $17,337.73           Duplicate Claim     Disallow/expunge           23
CRG Financial LLC (As 
Assignee of Alameda                                   Madison/Graham 
Company)                              1264            Colorgraphics, Inc.          $7,505.00            Duplicate Claim     Disallow/expunge          1262
CRG Financial LLC (As 
Assignee of Clear Cast 
Technologies)                         1296           Cenveo Corporation            $13,902.87           Duplicate Claim     Disallow/expunge          1297

CRG Financial LLC (AS 
ASSIGNEE OF COASTWIDE 
TAG AND LABEL COMPANY)                1301           Cenveo Corporation            $12,937.50           Duplicate Claim     Disallow/expunge          1304

CRG Financial LLC (As 
Assignee of MBO of America)           1312           Cenveo Corporation             $684.28             Duplicate Claim     Disallow/expunge          1113
CRG Financial LLC (AS 
ASSIGNEE OF PALTECH 
ENTERPRISES OF ARKANSAS, 
INC)                                  1291           Cenveo Corporation            $2,574.00            Duplicate Claim     Disallow/expunge          208
CRG Financial LLC (As 
Assignee of Premier Blanket 
Service)                              1285           Cenveo Corporation            $13,662.10           Duplicate Claim     Disallow/expunge          1340
CRG Financial LLC (As 
Assignee of Update Ltd.)              1311           Cenveo Corporation            $1,845.90            Duplicate Claim     Disallow/expunge          1310
CRG Financial LLC (As 
Assignee of Washington 
Packaging Supply)                     1307           Cenveo Corporation            $4,921.38            Duplicate Claim     Disallow/expunge          1308
CRG Financial LLC (As 
Assignee of Whitworth Knife 
Company)                              1258           Nashua Corporation            $3,317.20            Duplicate Claim     Disallow/expunge          1265
CRG Financial LLC (As 
Assignee of Whitworth Knife 
Company)                              1305           Cenveo Corporation            $3,317.20            Duplicate Claim     Disallow/expunge          1265
1.
   The discussion of such Claims appears at pages 4‐6 of the First Omnibus Objection.
2.
   Asserted Claim amounts listed as $0.00 reflect that the Claim amount asserted on the Proof of Claim is “unliquidated.”



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                                                         Duplicate Claims ‐ To Be Disallowed and Expunged


                                               [1]                          Asserted Claim                           Proposed
       Claimant Name               Claim No.               Debtor                            Basis For Objection                      Surviving Claim No.
                                                                              Amount[2]                              Treatment

CRG Financial LLC (As 
Assignee of Whitworth Knife 
Company)                              1306           Cenveo Corporation       $3,317.20        Duplicate Claim     Disallow/expunge          1265
CRG Financial LLC as 
Transferee of Aj Adhesives, 
Inc.                                   13               Cenveo, Inc.          $6,749.00        Duplicate Claim     Disallow/expunge          1256

CRG Financial LLC as 
Transferee of Blaze Graphics           77               Cenveo, Inc.          $1,456.00        Duplicate Claim     Disallow/expunge          1288
CRG Financial LLC as 
Transferee of Colbert 
Packaging Corporation                 196               Cenveo, Inc.         $168,084.03       Duplicate Claim     Disallow/expunge          1631
CRG Financial LLC as 
Transferee of Washington 
Packaging Supply                      120               Cenveo, Inc.          $4,921.38        Duplicate Claim     Disallow/expunge          1308
CRG Financial LLC as 
Transferee of Whitworth 
Knife Company                          35            Nashua Corporation       $3,313.20        Duplicate Claim     Disallow/expunge          1265

Digital 66                            424               Cenveo, Inc.          $7,766.88        Duplicate Claim     Disallow/expunge          361

Dunton, Bulkley                       795               Cenveo, Inc.          $60,823.50       Duplicate Claim     Disallow/expunge          733
Dynamic Control Solutions 
Inc                                   814               Cenveo, Inc.          $26,906.50       Duplicate Claim     Disallow/expunge          547

Edelen Company Inc                    701               Cenveo, Inc.          $2,396.88        Duplicate Claim     Disallow/expunge          648

Emerald City Bindery                   1                Cenveo, Inc.          $9,730.10        Duplicate Claim     Disallow/expunge          531

Ennis, Inc. and its affiliates, 
including Crabar/GBF, Inc.            1156           Discount Labels, LLC     $2,836.07        Duplicate Claim     Disallow/expunge          1109

Ennis, Inc. and its affiliates, 
including Crabar/GBF, Inc.            1157           Nashua Corporation       $1,706.21        Duplicate Claim     Disallow/expunge          1109

Euler Hermes N.A. as Agent 
for Field Paper Company               963               Cenveo, Inc.          $88,864.03       Duplicate Claim     Disallow/expunge          126

Fine Impressions                      434               Cenveo, Inc.          $2,829.70        Duplicate Claim     Disallow/expunge          493

Fortner Precision, Inc.               115               Cenveo, Inc.          $49,834.33       Duplicate Claim     Disallow/expunge           89

Fortner Precision, Inc.               1102              Cenveo, Inc.          $49,834.33       Duplicate Claim     Disallow/expunge           89

Friesen, Jerry A. and Judith D.       910            Cenveo Corporation         $0.00          Duplicate Claim     Disallow/expunge          908

Friesen, Jerry A. and Judith D.       924            Nashua Corporation         $0.00          Duplicate Claim     Disallow/expunge          908

GROEBER TRANSPORTATION 
SERVICES                              1186              Cenveo, Inc.          $33,825.77       Duplicate Claim     Disallow/expunge          1133
Harry'S Bindery Equipment 
Service & Sale                        857               Cenveo, Inc.          $2,698.08        Duplicate Claim     Disallow/expunge          160

Holston Gases, Inc.                   242            Nashua Corporation       $8,084.10        Duplicate Claim     Disallow/expunge          609

Holston Gases, Inc.                   273            Nashua Corporation       $8,084.10        Duplicate Claim     Disallow/expunge          609
James W. Smith Printing 
Company                                28               Cenveo, Inc.          $8,120.04        Duplicate Claim     Disallow/expunge          656

Jet Graphics Incorporated             1163              Cenveo, Inc.           $843.00         Duplicate Claim     Disallow/expunge          254

Jet Graphics, Inc.                    164               Cenveo, Inc.          $2,125.50        Duplicate Claim     Disallow/expunge          254

Los Angeles County 
Treasurer and Tax Collector           1086           Nashua Corporation       $3,724.01        Duplicate Claim     Disallow/expunge          142



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                                                         Duplicate Claims ‐ To Be Disallowed and Expunged


                                           [1]                                Asserted Claim                           Proposed
      Claimant Name            Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                                Amount[2]                              Treatment


Los Angeles County                                  Madison/Graham 
Treasurer and Tax Collector       1087              Colorgraphics, Inc.        $141,882.49       Duplicate Claim     Disallow/expunge          1396

Los Angeles County 
Treasurer and Tax Collector       1088              Cenveo Corporation         $270,665.75       Duplicate Claim     Disallow/expunge          149

Mapley, John                      1332              Cenveo Corporation          $71,677.00       Duplicate Claim     Disallow/expunge          1331

Mapley, John                      1333              Nashua Corporation          $71,677.00       Duplicate Claim     Disallow/expunge          1331

Marion County Treasurer           480                   Cenveo, Inc.           $173,566.76       Duplicate Claim     Disallow/expunge          459

Marion County Treasurer           1060                  Cenveo, Inc.           $173,566.76       Duplicate Claim     Disallow/expunge          459

Max Daetwyler Corporation         632                   Cenveo, Inc.            $1,064.03        Duplicate Claim     Disallow/expunge          1810

Max Daetwyler Corporation         649                   Cenveo, Inc.            $1,025.00        Duplicate Claim     Disallow/expunge          1810

Max Daetwyler Corporation         705                   Cenveo, Inc.             $485.48         Duplicate Claim     Disallow/expunge          1810

MBO America                       494                  Cenveo, Inc.             $2,956.53        Duplicate Claim     Disallow/expunge          553
                                                  Cadmus Printing Group, 
Midland Paper Company             280                       Inc.               $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Cadmus/O’Keefe 
Midland Paper Company             281                 Marketing, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                 Cadmus Marketing Group, 
Midland Paper Company             282                       Inc.               $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Cadmus Financial 
Midland Paper Company             283                Distribution, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             284             Cadmus Delaware, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             285                   Old TSI, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             286                CRX Holding, Inc.         $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             287            CNMW Investments, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             288             Colorhouse China, Inc.       $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             289                Cenveo CEM, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Madison/Graham 
                                                  Colorgraphics Interstate 
Midland Paper Company             290                  Services, Inc.          $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                     Madison/Graham 
Midland Paper Company             292               Colorgraphics, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             332               Port City Press, Inc.      $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             333            Nashua International, Inc.    $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             334             VSUB Holding Company         $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             336              RX Technology Corp.         $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             337               RX JV Holding, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge          278
                                                   Cadmus International 
Midland Paper Company             338                 Holdings, Inc.           $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             339                   CRX JV, LLC            $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             340              Discount Labels, LLC        $287,144.79       Duplicate Claim     Disallow/expunge          278

Midland Paper Company             341             Cadmus Marketing, Inc.       $287,144.79       Duplicate Claim     Disallow/expunge          278



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                                                        Duplicate Claims ‐ To Be Disallowed and Expunged


                                           [1]                                Asserted Claim                           Proposed
      Claimant Name            Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                                Amount[2]                              Treatment

                                                 Cadmus Journal Services, 
Midland Paper Company             342                     Inc.                 $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             343                Cadmus UK, Inc.           $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             344              Nashua Corporation          $287,144.79       Duplicate Claim     Disallow/expunge           278
                                                  Commercial Envelope 
Midland Paper Company             345             Manufacturing Co., Inc.      $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             346                Cenveo CEM, LLC           $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             347            CDMS Management, LLC          $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             348             Expert Graphics, Inc.        $287,144.79       Duplicate Claim     Disallow/expunge           278
                                                  Garamond/Pridemark 
Midland Paper Company             350                  Press, Inc.             $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             351             Cenveo Omemee, LLC           $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             352                  Cenveo, Inc.            $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             353              Cenveo Services, LLC        $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             354              Cenveo Corporation          $287,144.79       Duplicate Claim     Disallow/expunge           278
                                                 Envelope Products Group, 
Midland Paper Company             355                      LLC                 $287,144.79       Duplicate Claim     Disallow/expunge           278

Midland Paper Company             356              Lightning Labels, LLC       $287,144.79       Duplicate Claim     Disallow/expunge           278

Montesi, John                     1112             Nashua Corporation          $440,233.00       Duplicate Claim     Disallow/expunge          1115

Montesi, John                     1159             Cenveo Corporation          $440,233.00       Duplicate Claim     Disallow/expunge          1115

Morgan Adhesives Company, 
LLC d/b/a MACtac                  1160             Cenveo Corporation          $300,422.80       Duplicate Claim     Disallow/expunge    858, 861, 862, 867

Morgan Adhesives Company, 
LLC d/b/a MACtac                  1178                 Cenveo, Inc.            $300,422.80       Duplicate Claim     Disallow/expunge    858, 861, 862, 867

Nectron International, Inc.       1320                 Cenveo, Inc.             $36,618.15       Duplicate Claim     Disallow/expunge          1319

Nectron International, Inc.       1321             Nashua Corporation           $36,618.15       Duplicate Claim     Disallow/expunge          1319
Oregon Department Of 
Revenue                           552                  Cenveo, Inc.             $1,054.23        Duplicate Claim     Disallow/expunge           496
Oregon Department of 
Revenue                           1061                 Cenveo, Inc.             $1,054.23        Duplicate Claim     Disallow/expunge           496
Oregon Printing Industry                            Madison/Graham 
Pension Trust                     728               Colorgraphics, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     729            Nashua International, Inc.   $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     731            CDMS Management, LLC         $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     736               RX JV Holding, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     737             Cadmus Marketing, Inc.      $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     738                Cenveo CEM, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     748             VSUB Holding Company        $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry                            Vaughan Printers 
Pension Trust                     752                 Incorporated            $5,201,084.78      Duplicate Claim     Disallow/expunge           772
Oregon Printing Industry 
Pension Trust                     754              Cenveo Services, LLC       $5,201,084.78      Duplicate Claim     Disallow/expunge           772




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                                                        Duplicate Claims ‐ To Be Disallowed and Expunged


                                          [1]                                Asserted Claim                           Proposed
       Claimant Name          Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                               Amount[2]                              Treatment

Oregon Printing Industry                           Cadmus Financial 
Pension Trust                    755               Distribution, Inc.     $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                        Cadmus Journal Services, 
Pension Trust                    756                      Inc.            $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    757               Port City Press, Inc.     $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    758             Colorhouse China, Inc.      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    760             Cadmus Delaware, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                         Commercial Envelope 
Pension Trust                    761             Manufacturing Co., Inc.     $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    762               Discount Labels, LLC      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                        Cadmus Marketing Group, 
Pension Trust                    765                      Inc.               $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                          Cadmus International 
Pension Trust                    766                  Holdings, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                            Cadmus/O’Keefe 
Pension Trust                    767                  Marketing, Inc.        $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    768                 Cadmus UK, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    769                Cenveo CEM, LLC          $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    770              Cenveo Corporation         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                         Cadmus Printing Group, 
Pension Trust                    771                     Inc.                $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    773            CNMW Investments, Inc.       $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    774                   Old TSI, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    775              Cenveo Omemee, LLC         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    776              Expert Graphics, Inc.      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
                                                    Madison/Graham 
Oregon Printing Industry                         Colorgraphics Interstate 
Pension Trust                    777                  Services, Inc.         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    779              Nashua Corporation         $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    788              Lightning Labels, LLC      $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    791              RX Technology Corp.        $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                          Garamond/Pridemark 
Pension Trust                    792                   Press, Inc.           $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    793                CRX Holding, Inc.     $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry                        Envelope Products Group, 
Pension Trust                    794                      LLC             $5,201,084.78         Duplicate Claim     Disallow/expunge          772
Oregon Printing Industry 
Pension Trust                    800                   CRX JV, LLC           $5,201,084.78      Duplicate Claim     Disallow/expunge          772
Pennsylvania Department of 
Revenue                          1063              Cenveo Corporation        $1,459,336.47      Duplicate Claim     Disallow/expunge          186

Phillips Precision, Inc.         507                   Cenveo, Inc.            $56,525.62       Duplicate Claim     Disallow/expunge           25

PNC Equipment Finance, LLC       1274             Cenveo Corporation         $8,270,912.31      Duplicate Claim     Disallow/expunge          1370
Questar Gas Company dba 
Dominion Energy UT               1077                  Cenveo, Inc.              $73.38         Duplicate Claim     Disallow/expunge          798

Resource Equipment Co            103                   Cenveo, Inc.            $35,000.00       Duplicate Claim     Disallow/expunge           99

SEA INDUSTRIES LLC               1009             Cenveo Corporation           $1,357.70        Duplicate Claim     Disallow/expunge          750



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                                                          Duplicate Claims ‐ To Be Disallowed and Expunged


                                            [1]                                Asserted Claim                           Proposed
      Claimant Name             Claim No.                  Debtor                               Basis For Objection                      Surviving Claim No.
                                                                                 Amount[2]                              Treatment

Serv‐Wel Disposal ‐ 
Montebello                         557                   Cenveo, Inc.            $4,927.36        Duplicate Claim     Disallow/expunge          304

SMC ELECTRIC                       433              RX Technology Corp.           $649.54         Duplicate Claim     Disallow/expunge          426
                                                     Madison/Graham 
Source‐Rep, INC.                   363               Colorgraphics, Inc.          $520.00         Duplicate Claim     Disallow/expunge          884

Spring Cove Container              1042             Cenveo Corporation           $84,118.98       Duplicate Claim     Disallow/expunge          955
Tannor Partners Credit Fund, 
LP as Transferee of B&D 
Pallet Company                     716                   Cenveo, Inc.            $8,685.30        Duplicate Claim     Disallow/expunge          713

Tannor Partners Credit Fund, 
LP as Transferee of Superior 
Packaging Concepts, Inc.           869                   Cenveo, Inc.            $7,999.58        Duplicate Claim     Disallow/expunge          626

The County of Denton, Texas        244                   Cenveo, Inc.             $181.91         Duplicate Claim     Disallow/expunge          243

ThyssenKrupp Elevator Corp.         20                   Cenveo, Inc.             $874.71         Duplicate Claim     Disallow/expunge           2

TIDEWATER DIRECT LLC               310                   Cenveo, Inc.           $117,814.61       Duplicate Claim     Disallow/expunge          307

Trophy, Burien                     415                   Cenveo, Inc.            $2,050.85        Duplicate Claim     Disallow/expunge          440

W.W. Grainger, Inc.                690                   CRX JV, LLC             $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                    Garamond/Pridemark 
W.W. Grainger, Inc.                720                    Press, Inc.            $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                      Madison/Graham 
                                                   Colorgraphics Interstate 
W.W. Grainger, Inc.                721                  Services, Inc.           $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                722               Cenveo CEM, LLC             $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                   Cadmus International 
W.W. Grainger, Inc.                727                Holdings, Inc.             $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                     Vaughan Printers 
W.W. Grainger, Inc.                734                 Incorporated              $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                  Cadmus Journal Services, 
W.W. Grainger, Inc.                739                      Inc.                 $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                741             Cadmus Marketing, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                743            Nashua International, Inc.     $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                744              Nashua Corporation           $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                     Madison/Graham 
W.W. Grainger, Inc.                745               Colorgraphics, Inc.         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                746              Lightning Labels, LLC        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                922                CRX Holding, Inc.          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                930                Cadmus UK, Inc.            $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                      Cadmus Financial 
W.W. Grainger, Inc.                954                Distribution, Inc.         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                957             Cadmus Delaware, Inc.         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                967             CDMS Management, LLC          $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                  Cadmus Marketing Group, 
W.W. Grainger, Inc.                968                     Inc.                  $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.                969              Expert Graphics, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984
                                                  Envelope Products Group, 
W.W. Grainger, Inc.                970                      LLC                  $51,653.64       Duplicate Claim     Disallow/expunge          984




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                                                Duplicate Claims ‐ To Be Disallowed and Expunged


                                   [1]                               Asserted Claim                           Proposed
       Claimant Name   Claim No.                  Debtor                              Basis For Objection                      Surviving Claim No.
                                                                       Amount[2]                              Treatment


W.W. Grainger, Inc.       971                Cenveo CEM, Inc.          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       972             VSUB Holding Company         $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       973              Cenveo Corporation          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       974              Cenveo Omemee, LLC          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       975               RX JV Holding, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       976              Cenveo Services, LLC        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       977            CNMW Investments, Inc.        $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       978               Port City Press, Inc.      $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       979             Colorhouse China, Inc.       $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       980                  Old TSI, Inc.           $51,653.64       Duplicate Claim     Disallow/expunge          984
                                             Cadmus/O’Keefe 
W.W. Grainger, Inc.       981                 Marketing, Inc.          $51,653.64       Duplicate Claim     Disallow/expunge          984

W.W. Grainger, Inc.       982               Discount Labels, LLC       $51,653.64       Duplicate Claim     Disallow/expunge          984
                                           Commercial Envelope 
W.W. Grainger, Inc.       985             Manufacturing Co., Inc.      $51,653.64       Duplicate Claim     Disallow/expunge          984
                                          Cadmus Printing Group, 
W.W. Grainger, Inc.       987                      Inc.                $51,653.64       Duplicate Claim     Disallow/expunge          984
Western Converting 
Specialties, Inc.          97                  Cenveo, Inc.            $17,029.87       Duplicate Claim     Disallow/expunge           83
WestRock Converting 
Company                   1051                 Cenveo, Inc.           $737,964.19       Duplicate Claim     Disallow/expunge          1733
WestRock Converting                        Commercial Envelope 
Company                   1053            Manufacturing Co., Inc.     $737,964.19       Duplicate Claim     Disallow/expunge          1736
WestRock Converting                      Envelope Products Group, 
Company                   1189                     LLC                $737,964.19       Duplicate Claim     Disallow/expunge          1735
WestRock Converting 
Company                   1192             Cenveo Corporation         $737,964.19       Duplicate Claim     Disallow/expunge          1734

Willis, Bruce             1145                 Cenveo, Inc.           $553,437.50       Duplicate Claim     Disallow/expunge          1105

Wylie, Edwin              1101           CDMS Management, LLC         $787,500.00       Duplicate Claim     Disallow/expunge          1100

Xfinity Consultancy       558                  Cenveo, Inc.            $3,309.06        Duplicate Claim     Disallow/expunge          563

Zeriva Llc                666                  Cenveo, Inc.            $7,796.00        Duplicate Claim     Disallow/expunge           55




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